Case 2:03-cv-02456-.]PI\/|-STA Document 157 Filed 08/10/05 Page 1 of 2 Page|D 120

IN THE UNITED sTATEs DIsTRlCT COURT F"-ED 'BY %°‘.i__ D-G.
FOR THE wESTERN DIsTRICT 0F TENNESSEE
WESTERN DIVIsION 05 AUG 10 PH l+= 2!

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RONALD M. BOWMAN,
Plaintiff,
vs. No. 03-2456 Ml/An

SHELBY COUNTY, et al.,

Defendants.

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ORDER CANCELLING SHOW CAUSE HEARING

 

A Show Cause hearing in this matter Was Set before the Undersigned en Thursday,
August 18, 2005. However, because the instant action has been dismissed by United States

District Judge JOn P. McCalla, the hearing is cancelled.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Dat€r 641/01 Z¢m/

IT lS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 157 in
case 2:03-CV-02456 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

